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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                                Eastern Division

Merrill Primack
                                         Plaintiff,
v.                                                       Case No.: 1:13−cv−06228
                                                         Honorable James F. Holderman
CarePlus Health Plans, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 14, 2014:


        MINUTE entry before the Honorable James F. Holderman: A stipulation to
dismiss has been filed. Defendants' motion to dismiss [27] is terminated. Plaintiff's
individual claims against defendants are dismissed with prejudice. Because there was no
class certification, the case is dismissed without prejudice to the putative class. Civil case
terminated. Notice mailed by judge's staff (ntf, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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